                       Case 12-24912-RAM         Doc 17     Filed 09/23/12     Page 1 of 5
                                      United States Bankruptcy Court
                                      Southern District of Florida
In re:                                                                                 Case No. 12-24912-RAM
Cesar A Sayoc                                                                          Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113C-1          User: admin                  Page 1 of 3                   Date Rcvd: Sep 21, 2012
                              Form ID: CGFD39              Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 23, 2012.
db            +Cesar A Sayoc,   18151 NE 31 Ct #2016,     Aventura, FL 33160-2666
90473142      +Bank Of America, N.a.,    450 American St,    Simi Valley, CA 93065-6285
90473148      +Cpu/citi - Conoco Phillips Union,     Attn: Centralized Bankruptcy,    Po Box 20363,
                Kansas City, MO 64195-0363
90473161      +Indymac Bank/Onewest bank,    Attn:Bankruptcy,    2900 Esperanza Crossing,   Austin, TX 78758-3658
90473166      +Monterey County Bank,    Po Box 4477,    Beaverton, OR 97076-4401
90473169      +Universal Realty Manag,    3850 Hollywood Blvd Ste,    Hollywood, FL 33021-6748
90473170      +Wachrl/Wells Fargo,    Attn: Centralized Bankruptcy MAC R4057-0,    Po Box 13765,
                Roanoke, VA 24037-3765

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr           +EDI: QJCALDERIN.COM Sep 22 2012 00:43:00       Jacqueline Calderin,     247 SW 8 St # 880,
               Miami, FL 33130-3529
smg           EDI: FLDEPREV.COM Sep 22 2012 00:34:00       Florida Department of Revenue,     POB 6668,
               Tallahassee, FL 32314-6668
ust          +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Sep 22 2012 00:56:23         Office of the US Trustee,
               51 S.W. 1st Ave.,    Suite 1204,   Miami, FL 33130-1614
90502852     +EDI: ATLASACQU.COM Sep 22 2012 00:33:00       Atlas Acquisitions LLC,     294 Union St.,
               Hackensack, NJ 07601-4303
90473141     +EDI: BANKAMER.COM Sep 22 2012 00:33:00       Bank Of America,     Attention: Recovery Department,
               4161 Peidmont Pkwy.,    Greensboro, NC 27410-8110
90473143     +E-mail/Text: bankruptcy@cavps.com Sep 22 2012 00:57:38        Calvary Portfolio Services,
               Attention: Bankruptcy Department,     500 Summit Lake Dr. Suite 400,      Valhalla, NY 10595-1340
90473144     +EDI: CHASE.COM Sep 22 2012 00:43:00       Chase,    P.o. Box 15298,    Wilmington, DE 19850-5298
90473145     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Chevron / Texaco Citibank,
               Citi Corporation Credit Services/Attn: C,     Po Box 20363,    Kansas City, MO 64195-0363
90473146     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Citgo Oil / Citibank,     Attn: Bankruptcy,
               Po Box 20363,   Kansas City, MO 64195-0363
90473147     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Citibank Sd, Na,     Attn: Centralized Bankruptcy,
               Po Box 20507,   Kansas City, MO 64195-0507
90473149     +EDI: CREDPROT.COM Sep 22 2012 00:33:00       Crd Prt Asso,    Attn: Bankruptcy,     Po Box 802068,
               Dallas, TX 75380-2068
90473150     +EDI: RCSFNBMARIN.COM Sep 22 2012 00:43:00        Credit One Bank,    Po Box 98873,
               Las Vegas, NV 89193-8873
90473151     +EDI: TSYS2.COM Sep 22 2012 00:33:00       Dsnb Macys,    9111 Duke Blvd,    Mason, OH 45040-8999
90473152     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Exxmblciti,    Attn.: Centralized Bankruptcy,
               Po Box 20507,   Kansas City, MO 64195-0507
90473153     +EDI: CHASE.COM Sep 22 2012 00:43:00       First Usa Bank N A,     1001 Jefferson Plaza,
               Wilmington, DE 19801-1447
90473155     +EDI: RMSC.COM Sep 22 2012 00:33:00      Gemb/JC Penny,     Attention: Bankruptcy,      Po Box 103104,
               Roswell, GA 30076-9104
90473154     +EDI: RMSC.COM Sep 22 2012 00:33:00      Gemb/chevron,     Attention: Bankruptcy,     Po Box 103104,
               Roswell, GA 30076-9104
90473156     +E-mail/Text: bankruptcy@gulfcoastcollection.com Sep 22 2012 00:56:14         Gulf Coast Collection,
               5630 Marquesas Cir,    Sarasota, FL 34233-3331
90473157     +E-mail/Text: bankruptcy@gulfcoastcollection.com Sep 22 2012 00:56:14         Gulf Cst Col,
               5630 Marquesas Cir,    Sarasota, FL 34233-3331
90473158     +E-mail/Text: BKNOTICES@EAFLLC.COM Sep 22 2012 00:56:08
               Hilco Receivables/Equable Ascent Financi,     Attn: Bankruptcy,     1120 Lake Cook Road Suite B,
               Buffalo Grove, IL 60089-1970
90473159     +EDI: HFC.COM Sep 22 2012 00:33:00      Hsbc Bank,     Attn: Bankruptcy,    Po Box 5213,
               Carol Stream, IL 60197-5213
90473160     +EDI: HFC.COM Sep 22 2012 00:33:00      Hsbc Nv,     Attention: Bankruptcy,    Po Box 5213,
               Carol Stream, IL 60197-5213
90473162     +EDI: IRS.COM Sep 22 2012 00:43:00      IRS,    PO Box 7346,    Philadelphia, PA 19101-7346
90473163     +EDI: RMSC.COM Sep 22 2012 00:33:00      Lowes / MBGA / GEMB,      Attention: Bankruptcy Department,
               Po Box 103104,    Roswell, GA 30076-9104
90473164     +EDI: RESURGENT.COM Sep 22 2012 00:43:00       Lvnv Funding Llc,     Po Box 740281,
               Houston, TX 77274-0281
90473165     +EDI: MID8.COM Sep 22 2012 00:43:00      Midland Funding,     8875 Aero Dr Ste 200,
               San Diego, CA 92123-2255
90473167     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Shell Oil / Citibank,     Attn.: Centralized Bankruptcy,
               Po Box 20507,   Kansas City, MO 64195-0507
90473168     +EDI: CITICORP.COM Sep 22 2012 00:43:00       Sunoco/citi,    Attention: Bankruptcy,
               7920 Nw 110th St.,    Kansas City, MO 64153-1270
                                                                                                 TOTAL: 28

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
                             Case 12-24912-RAM                Doc 17       Filed 09/23/12          Page 2 of 5



 District/off: 113C-1                  User: admin                        Page 2 of 3                          Date Rcvd: Sep 21, 2012
                                       Form ID: CGFD39                    Total Noticed: 35


               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Sep 23, 2012                                       Signature:
                       Case 12-24912-RAM        Doc 17     Filed 09/23/12    Page 3 of 5



District/off: 113C-1         User: admin                 Page 3 of 3                   Date Rcvd: Sep 21, 2012
                             Form ID: CGFD39             Total Noticed: 35


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 21, 2012 at the address(es) listed below:
              Atlas Acquisitions   avi.schild@atlasacq.com
              Christian J. Olson   on behalf of Debtor Cesar Sayoc chris@simonsonolson.com,
               richard@simonsonolson.com;ecfsimonson@gmail.com
              Jacqueline Calderin    calderintrustee@gmail.com, jcalderin@ecf.epiqsystems.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 4
                           Case 12-24912-RAM                        Doc 17           Filed 09/23/12               Page 4 of 5
Form CGFD39 (9/19/08)




ORDERED in the Southern District of Florida on September 21, 2012




                                                                           Robert A Mark
                                                                           United States Bankruptcy Judge


                                           United States Bankruptcy Court
                                                        Southern District of Florida
                                                          www.flsb.uscourts.gov
                                                                                                                        Case Number: 12−24912−RAM
                                                                                                                        Chapter: 7
In re: *
Cesar A Sayoc
18151 NE 31 Ct #2016
Aventura, FL 33160

Last four digits of SSN/ITIN or Complete EIN: xxx−xx−3324




                                                     DISCHARGE OF DEBTOR(S)


It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy
Code).


                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.


Copies to: All Parties of record


* Set forth all names, including trade names, used by the debtor(s) within the last 8 years. For joint debtors, set forth the last four digits of both
social−security numbers or individual taxpayer−identification numbers (ITIN) or complete employer tax−identification numbers (EIN).



                                                                       Page 1 of 2
                     Case 12-24912-RAM              Doc 17       Filed 09/23/12        Page 5 of 5



                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). [In a case
involving community property: There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.
      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor(s)' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.

       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
                                                          ###
                                                      Page 2 of 2
